Case 15-12125-1-rel       Doc 57     Filed 02/02/18 Entered 02/02/18 15:15:09            Desc Main
                                     Document     Page 1 of 2


                            DRUCKMAN LAW GROUP PLLC
                                        242 Drexel Avenue
                                    Westbury, New York 11590
                                          (516) 876-0800
                                        Fax (516) 876-0888
                                  ___________________________

                                                                      February 2, 2018
Docketed to ECF on February 2, 2018

The Honorable Robert E. Littlefield, Jr.
United States Bankruptcy Court
Northern District of New York
James T. Foley Courthouse
445 Broadway, Suite 330
Albany, NY 12207

                                RE:     Case No. 15-12125-1-rel
                                Debtor: Mark Thomas and Dawn Thomas
                                DLG:    36022

Dear Honorable Littlefield:

       Please allow this letter to serve as a status report in the pending Loss Mitigation pursuant
to the Northern District of New York Bankruptcy Loss Mitigation Program. Our office
represents Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust in the above reference
case.

        On November 2, 2017, we received the executed Loan Modification from Debtor’s
Counsel. As directed on January 23, 2018, we are working with Debtor’s counsel to produce a
Stipulation to Approve the Loan Modification. We are respectfully requesting an adjournment,
on consent, to allow both parties to finalize the Stipulation and file it with the court.

        If there are any questions, please feel free to contact our office at 516-876-0800.

                                                       Very truly yours,

                                                      By:/s/ Stuart L. Druckman
                                                      Stuart L. Druckman, Esq.
                                                      Druckman Law Group PLLC
                                                      Attorneys for Movant
                                                      242 Drexel Avenue
                                                      Westbury, New York 11590

CC: Kristie Hanson kristie@hansonlawonline.com
Case 15-12125-1-rel   Doc 57   Filed 02/02/18 Entered 02/02/18 15:15:09   Desc Main
                               Document     Page 2 of 2
